                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    GREENEVILLE

   UNITED STATES OF AMERICA                   )
                                              )
          V.                                  )              NO. 2:08-CR-38
                                              )
   ROBERT McPHERSON                           )
                                  U.S.S.G. § 3E1.1(b) MOTION
          Comes the United States of America and pursuant to U.S.S.G. § 3E1.1(b) states
   that the defendant has assisted authorities by timely notifying the United States of his

   intention to enter a guilty plea thereby permitting the United States to avoid preparing for
   trial and permitting the United States and the Court to allocate their resources efficiently.

          Wherefore, the United States requests that the Court apply the one-level reduction

   pursuant to § 3E1.1(b) in the calculation of defendant’s advisory guidelines range.
                 Respectfully submitted, this the 9th day of November, 2009.

                                              JAMES R. DEDRICK
                                              UNITED STATES ATTORNEY



                                          By: s/ Caryn L. Hebets
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                                  CERTIFICATE OF SERVICE

   I hereby certify that on November 9, 2009, the foregoing response was filed
   electronically. Notice of this filing was sent by operation of the court's electronic filing
   system to all parties indicated on the electronic filing receipt. Counsel not indicated on
   the court’s EFS will be served by regular U.S. Mail, postage prepaid.

                                                      /s/ Caryn L. Hebets
                                                      Assistant U.S. Attorney



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